            Case 1:06-cv-01104-LJO-SMS Document 14 Filed 02/16/07 Page 1 of 6


 1
 2
 3
 4
 5
 6
                           UNITED STATES DISTRICT COURT
 7
                                  EASTERN DISTRICT OF CALIFORNIA
 8
 9   JOHN M. BLACK,                                      CASE NO. 1:06-cv-01104-OWW-SMS PC
10                           Plaintiff,                  ORDER DENYING MOTION FOR LEAVE TO
                                                         AMEND AS UNNECESSARY, AND
11           v.                                          DIRECTING CLERK’S OFFICE TO FILE IN
                                                         AMENDED COMPLAINT
12   DOCTOR REYES MCGUINE, et al.,
                                                         (Doc. 12)
13                           Defendants.
                                                         ORDER DISMISSING AMENDED
14                                                       COMPLAINT, WITH LEAVE TO FILE
                                                         SECOND AMENDED COMPLAINT WITHIN
15                                                       THIRTY DAYS
                                                     /
16
17   I.      Order
18           A.      Motion to Amend
19           Plaintiff John M. Black (“plaintiff”) is a state prisoner proceeding pro se and in forma
20   pauperis in this civil rights action pursuant to 42 U.S.C. § 1983. Plaintiff filed this action on August
21   22, 2006. On November 22, 2006, plaintiff filed a motion seeking leave to amend and submitted a
22   proposed amended complaint. It is unnecessary for plaintiff to seek leave of court to amend because
23   he has not previously amended and a responsive pleading has not been served. Fed. R. Civ. P. 15(a).
24   Accordingly, plaintiff’s motion shall be denied on the ground that it is unnecessary and the Clerk’s
25   Office will be directed to file plaintiff’s amended complaint. Plaintiff’s amended complaint is the
26   subject of the screening set forth below.
27   ///
28   ///

                                                         1
            Case 1:06-cv-01104-LJO-SMS Document 14 Filed 02/16/07 Page 2 of 6


 1           B.      Screening Requirement
 2           The court is required to screen complaints brought by prisoners seeking relief against a
 3   governmental entity or officer or employee of a governmental entity. 28 U.S.C. § 1915A(a). The
 4   court must dismiss a complaint or portion thereof if the prisoner has raised claims that are legally
 5   “frivolous or malicious,” that fail to state a claim upon which relief may be granted, or that seek
 6   monetary relief from a defendant who is immune from such relief. 28 U.S.C. § 1915A(b)(1),(2).
 7   “Notwithstanding any filing fee, or any portion thereof, that may have been paid, the court shall
 8   dismiss the case at any time if the court determines that . . . the action or appeal . . . fails to state a
 9   claim upon which relief may be granted.” 28 U.S.C. § 1915(e)(2)(B)(ii).
10           “Rule 8(a)’s simplified pleading standard applies to all civil actions, with limited
11   exceptions,” none of which applies to section 1983 actions. Swierkiewicz v. Sorema N. A., 534 U.S.
12   506, 512 (2002); Fed. R. Civ. Pro. 8(a). Pursuant to Rule 8(a), a complaint must contain “a short
13   and plain statement of the claim showing that the pleader is entitled to relief . . . .” Fed. R. Civ. Pro.
14   8(a). “Such a statement must simply give the defendant fair notice of what the plaintiff’s claim is
15   and the grounds upon which it rests.” Swierkiewicz, 534 U.S. at 512. A court may dismiss a
16   complaint only if it is clear that no relief could be granted under any set of facts that could be proved
17   consistent with the allegations. Id. at 514. “‘The issue is not whether a plaintiff will ultimately
18   prevail but whether the claimant is entitled to offer evidence to support the claims. Indeed it may
19   appear on the face of the pleadings that a recovery is very remote and unlikely but that is not the
20   test.’” Jackson v. Carey, 353 F.3d 750, 755 (9th Cir. 2003) (quoting Scheuer v. Rhodes, 416 U.S.
21   232, 236 (1974)); see also Austin v. Terhune, 367 F.3d 1167, 1171 (9th Cir. 2004) (“‘Pleadings need
22   suffice only to put the opposing party on notice of the claim . . . .’” (quoting Fontana v. Haskin, 262
23   F.3d 871, 977 (9th Cir. 2001))). However, “the liberal pleading standard . . . applies only to a
24   plaintiff’s factual allegations.” Neitze v. Williams, 490 U.S. 319, 330 n.9 (1989). “[A] liberal
25   interpretation of a civil rights complaint may not supply essential elements of the claim that were not
26   initially pled.” Bruns v. Nat’l Credit Union Admin., 122 F.3d 1251, 1257 (9th Cir. 1997) (quoting
27   Ivey v. Bd. of Regents, 673 F.2d 266, 268 (9th Cir. 1982)).
28   ///

                                                         2
            Case 1:06-cv-01104-LJO-SMS Document 14 Filed 02/16/07 Page 3 of 6


 1           C.      Plaintiff’s Eighth Amendment Medical Care Claim
 2           Plaintiff is an inmate housed at the California Substance Abuse Treatment Facility and State
 3   Prison in Corcoran. The defendants named in this action are John Doe, who is the Chief Medical
 4   Officer, and Nurse Reyes. Plaintiff is seeking money damages and injunctive relief. The claim in
 5   this action arises from the medical treatment plaintiff is being provided for his back pain.
 6           The Civil Rights Act under which this action was filed provides:
 7                   Every person who, under color of [state law] . . . subjects, or causes
                     to be subjected, any citizen of the United States . . . to the deprivation
 8                   of any rights, privileges, or immunities secured by the Constitution .
                     . . shall be liable to the party injured in an action at law, suit in equity,
 9                   or other proper proceeding for redress.
10   42 U.S.C. § 1983. “Section 1983 . . . creates a cause of action for violations of the federal
11   Constitution and laws.” Sweaney v. Ada County, Idaho, 119 F.3d 1385, 1391 (9th Cir. 1997)
12   (internal quotations omitted.) “To the extent that the violation of a state law amounts to the
13   deprivation of a state-created interest that reaches beyond that guaranteed by the federal Constitution,
14   Section 1983 offers no redress.” Id.
15           Section 1983 plainly requires that there be an actual connection or link between the actions
16   of the defendants and the deprivation alleged to have been suffered by plaintiff. See Monell v.
17   Department of Social Services, 436 U.S. 658 (1978); Rizzo v. Goode, 423 U.S. 362 (1976). “‘A
18   person ‘subjects’ another to the deprivation of a constitutional right, within the meaning of [§] 1983,
19   if [that person] does an affirmative act, participates in another’s affirmative acts or omits to perform
20   an act which [that person] is legally required to do that causes the deprivation of which complaint
21   is made.’” Hydrick v. Hunter, 466 F.3d 676, 689 (9th Cir. 2006) (quoting Johnson v. Duffy, 588
22   F.2d 740, 743 (9th Cir. 1978)). “[T]he ‘requisite causal connection can be established not only by
23   some kind of direct, personal participation in the deprivation, but also be setting in motion a series
24   of acts by others which the actor knows or reasonably should know would cause others to inflict the
25   constitutional injury.’” Id. (quoting Johnson at 743-44).
26           Plaintiff’s claim involves his medical care and therefore falls within the purview of the
27   Eighth Amendment. To constitute cruel and unusual punishment in violation of the Eighth
28   Amendment, prison conditions must involve “the wanton and unnecessary infliction of pain.”

                                                          3
             Case 1:06-cv-01104-LJO-SMS Document 14 Filed 02/16/07 Page 4 of 6


 1   Rhodes v. Chapman, 452 U.S. 337, 347 (1981). A prisoner’s claim of inadequate medical care does
 2   not rise to the level of an Eighth Amendment violation unless (1) “the prison official deprived the
 3   prisoner of the ‘minimal civilized measure of life’s necessities,’” and (2) “the prison official ‘acted
 4   with deliberate indifference in doing so.’” Toguchi v. Chung, 391 F.3d 1051, 1057 (9th Cir. 2004)
 5   (quoting Hallett v. Morgan, 296 F.3d 732, 744 (9th Cir. 2002) (citation omitted)). A prison official
 6   does not act in a deliberately indifferent manner unless the official “knows of and disregards an
 7   excessive risk to inmate health or safety.” Farmer v. Brennan, 511 U.S. 825, 834 (1994). Deliberate
 8   indifference may be manifested “when prison officials deny, delay or intentionally interfere with
 9   medical treatment,” or in the manner “in which prison physicians provide medical care.” McGuckin
10   v. Smith, 974 F.2d 1050, 1059 (9th Cir. 1992), overruled on other grounds, WMX Techs., Inc. v.
11   Miller, 104 F.3d 1133, 1136 (9th Cir. 1997) (en banc). Where a prisoner is alleging a delay in
12   receiving medical treatment, the delay must have led to further harm in order for the prisoner to
13   make a claim of deliberate indifference to serious medical needs. McGuckin, 974 F.2d at 1060
14   (citing Shapely v. Nevada Bd. of State Prison Comm’rs, 766 F.2d 404, 407 (9th Cir. 1985)).
15           Plaintiff alleges he suffers from severe back pain and Nurse Reyes is “being deliberately
16   indifferent because medical professionals know only 93% of the back pain [patients] are diagnosed
17   with specific pain location.” (Amend. Comp., § IV.) Plaintiff alleges that he is not being provided
18   with real pain medication, a walking cane, or anything “up to standard per recent ‘Plata’ rulings.”
19   (Id.)
20           Plaintiff’s disagreement with the course of treatment being prescribed for his back pain does
21   not support a claim for relief under section 1983. Franklin v. Oregon, 662 F.2d 1337, 1344 (9th Cir.
22   1981). In order to proceed under section 1983 against prison officials for acting with deliberate
23   indifference in violation of the Eighth Amendment, plaintiff’s factual allegations must be sufficient
24   to support a claim that the named defendants “[knew] of and disregard[ed] an excessive risk to
25   [plaintiff’s] health . . . .” Farmer, 511 U.S. at 837. Here, plaintiff has not alleged facts linking the
26
27
28

                                                        4
             Case 1:06-cv-01104-LJO-SMS Document 14 Filed 02/16/07 Page 5 of 6


 1   Chief Medical Officer to any acts or omissions relating to plaintiff’s medical care,1 and plaintiff has
 2   not alleged any facts that would support a claim that Nurse Reyes acted or failed to act in a manner
 3   that rose to the level of a constitutional violation. The court will provide plaintiff with the
 4   opportunity to file a second amended complaint.
 5            D.       Conclusion
 6            The court finds that plaintiff’s amended complaint does not state a claim upon which relief
 7   may be granted under section 1983. The court will provide plaintiff with the opportunity to file a
 8   second amended complaint curing the deficiencies identified by the court in this order.
 9            Plaintiff is informed he must demonstrate in his complaint how the conditions complained
10   of have resulted in a deprivation of plaintiff’s constitutional rights. See Ellis v. Cassidy, 625 F.2d
11   227 (9th Cir. 1980). The complaint must allege in specific terms how each named defendant is
12   involved. There can be no liability under 42 U.S.C. § 1983 unless there is some affirmative link or
13   connection between a defendant’s actions and the claimed deprivation. Rizzo v. Goode, 423 U.S.
14   362 (1976); May v. Enomoto, 633 F.2d 164, 167 (9th Cir. 1980); Johnson v. Duffy, 588 F.2d 740,
15   743 (9th Cir. 1978).
16            Finally, plaintiff is advised that Local Rule 15-220 requires that an amended complaint be
17   complete in itself without reference to any prior pleading. As a general rule, an amended complaint
18   supersedes the original complaint. See Loux v. Rhay, 375 F.2d 55, 57 (9th Cir. 1967). Once
19   plaintiff files an amended complaint, the original pleading no longer serves any function in the case.
20   Therefore, in an amended complaint, as in an original complaint, each claim and the involvement
21   of each defendant must be sufficiently alleged.
22   ///
23
              1
                 Under section 1983, liability may not be imposed on supervisory personnel such as the Chief Medical
24   Officer for the actions of their employees under a theory of respondeat superior. W hen the named defendant holds a
     supervisorial position, the causal link between the defendant and the claimed constitutional violation must be
25   specifically alleged. See Fayle v. Stapley, 607 F.2d 858, 862 (9th Cir. 1979); Mosher v. Saalfeld, 589 F.2d 438, 441
     (9th Cir. 1978), cert. denied, 442 U.S. 941 (1979). To state a claim for relief under section 1983 for supervisory
26   liability, plaintiff must allege some facts indicating that the defendant either: personally participated in the alleged
     deprivation of constitutional rights; knew of the violations and failed to act to prevent them; or promulgated or
27   “implemented a policy so deficient that the policy ‘itself is a repudiation of constitutional rights’ and is ‘the moving
     force of the constitutional violation.’” Hansen v. Black, 885 F.2d 642, 646 (9th Cir. 1989) (internal citations
28   omitted); Taylor v. List, 880 F.2d 1040, 1045 (9th Cir. 1989).

                                                                5
          Case 1:06-cv-01104-LJO-SMS Document 14 Filed 02/16/07 Page 6 of 6


 1            Accordingly, based on the foregoing, it is HEREBY ORDERED that:
 2            1.      Plaintiff’s motion for leave to file an amended complaint, filed November 22, 2006,
 3                    is DENIED as unnecessary;
 4            2.      The Clerk’s Office shall file plaintiff’s amended complaint, which was lodged on
 5                    November 22, 2006;
 6            3.      Plaintiff’s amended complaint is dismissed, with leave to amend, for failure to state
 7                    a claim upon which relief may be granted under section 1983;
 8            4.      The Clerk’s Office shall send plaintiff a civil rights complaint form;
 9            5.      Within thirty (30) days from the date of service of this order, plaintiff shall file a
10                    second amended complaint; and
11            6.      If plaintiff fails to file a second amended complaint in compliance with this order, the
12                    court will recommend that this action be dismissed, with prejudice, for failure to state
13                    a claim upon which relief may be granted.
14
15   IT IS SO ORDERED.
16   Dated:        February 16, 2007                     /s/ Sandra M. Snyder
     icido3                                       UNITED STATES MAGISTRATE JUDGE
17
18
19
20
21
22
23
24
25
26
27
28

                                                         6
